
Cunningham, Judge.
Plaintiffs in error brought their action in the district, court, which was in the nature of a bill of discovery and for an ¿ccounting with reference to an alleged partnership between themselves and the individual defendants. The case was tried to the court without a jury, and after' many days spent in taking testimony, and in oral arguments, the trial judge determined all of the issues of fact and of law in favor of the defendants in error, and entered judgment accordingly.
There are no disputed questions of law involved. A review of the facts and the 2,000 or more folios of evidence would be of no possible benefit to any of the parties *414concerned. We think the evidence abundantly supports the finding’s of the trial court that there was no partnership, and that the original attempt on the part of all concerned to float a bond issue upon certain irrigation projects, and all agreements with reference thereto, had been entirely abandoned by Mr. Franklin and his associates, before Mr. Genter and his associates succeeded, upon an altogether different basis, in floating a bond issue and perfecting the titles contemplated by the original undertaking.
The whole basis for the hill rests upon the theory of had faith on the part of the individual defendants in error, and especially Mr. Genter. The trial court completely exonerates Mr. Genter, and we think the evidence supports the action of the trial judge in this behalf.
The judgment of the trial court is affirmed.
